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Case 4:06-cv-04333-PJH Document 423

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STATE OF FLORIDA

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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

STATE OF CALIFORNIA, et. al,
Plaintiffs,
vs.
INFINEON TECHNOLOGIES AG, et. al.,

Defendants.

Nene Saar” eee Nee! See” Nea ene” ne ee! gt Sg” ag! Spt! nat name!

Case No.: C 06-04333 PJH

Assigned for all purposes to the
Hon. Phyllis J. Hamilton

PLAINTIFF STATE OF FLORIDA’S
NOTICE OF MOTION AND
MOTION TO STRIKE

ORAL ARGUMENT REQUESTED

Hearing date:

Time: 9:00 a.m.

Courtroom: 3, 17" Floor

Judge: Hon. Phyllis J. Hamilton

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PLAINTIFF STATE OF FLORIDA’S NOTICE OF MOTION
AND MOTION TO STRIKE

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

PLEASE TAKE NOTICE that, pursuant to Federal Rule of Civil Procedure 12(f), the
Plaintiff State of Florida will and hereby does move to strike, in part, Defendants’ Affirmative
Defenses to Plaintiffs’ Third Amended Complaint. This motion shall be heard on August 6, 2008 at
9:00 a.m., or as soon thereafter as the matter may be called, in the courtroom of the Honorable
Phyllis J. Hamilton, United States District Judge, United States District Court, 450 Golden Gate
Ave., San Francisco, California, 94102.

This motion is based upon this Notice of Motion; the accompanying Memorandum of Points
and Authorities; the complete files in this action, including Defendants’ Affirmative Defenses;

argument of counsel; and other such and further matters as this Court may consider.

DATED:
July 2, 2008 Respectfully Submitted,
STATE OF FLORIDA
/s/ Lizabeth Leeds

Lizabeth A. Leeds
Eli A. Friedman

Attorneys for the
State of Florida

PLAINTIFF FLORIDA’S MOTION TO STRIKE
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MOTION TO STRIKE SEVERAL OF DEFENDANTS’ AFFIRMATIVE
DEFENSES RELATING TO THE STATE OF FLORIDA

MEMORANDUM OF POINTS AND AUTHORITIES

Plaintiff State of Florida (Florida) respectfully submits this memorandum of points and

authorities in support of its Motion to Strike.

INTRODUCTION

On May 13, Defendants filed with this Court Answers and numerous Affirmative
Defenses to Plaintiff's Third Amended Complaint. A number of Defendants’ Affirmative
Defenses misstate and misconstrue the current state of both Florida and federal law and
therefore should be stricken.’ This motion requests that this Court strike NEC Electronics
America Inc.’s_ sixty-ninth Affirmative Defense (The Mack Affirmative Defense).
Additionally, Florida moves to strike Elpida Memory, Inc.’s and Elpida Memory (USA) Inc.’s
sixtieth Affirmative Defense, Hynix’s sixty-second Affirmative Defense, Infineon
Technologies North American Corp. and Infineon Technologies AG’s forty-third Affirmative
Defense, Micron Technology Inc.’s and Micron Semiconductor Products, Inc.’s forty-third
Additional Defense, Nanya Technology Corporation’s Affirmative Defenses eleven and sixty-
four, Nanya Technology Corporation USA’s Affirmative Defenses eleven and sixty-four, and
NEC Electronics America Inc.’s_sixty-seventh Affirmative Defense. (The FDUTPA

Affirmative Defenses)”

' The Plaintiff State of Florida specifically reserves its right to contest all of Defendants’ Affirmative Defenses at a
later date.

? For the convenience of the Court, Florida has attached an appendix of the specific Affirmative Defenses that are
the subject of this motion. Additionally, Defendants’ Affirmative Defenses each adopt and incorporate the
Affirmative Defenses of all of the other Defendants, and therefore each section of this motion to strike includes each

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I. STANDARD

Florida brings this motion to strike the Mack Affirmative Defense and the FDUTPA
Affirmative Defenses because they are legally insufficient. “Federal Rule of Civil Procedure
12(f) provides that the court ‘may order stricken from any pleading any insufficient defense.’”
Butler v. Adoption Media, LLC, No. C 04-0135 PJH, 2005 U.S. Dist. LEXIS 46208 (N.D. Cal.
June 21, 2005) (quoting the 2005 Federal Rules of Civil Procedure) (granting, in part,
plaintiffs’ motions to strike when defendants’ affirmative defenses were legally insufficient).
The essential function of a Rule 12(f) motion is to “avoid the expenditure of time and money
that must arise from litigating spurious issues by dispensing with those issues prior to trial . . .
.” Fantasy, Inc. v. Fogerty, 984 F.2d 1524, 1527 (9th Cir. 1993), rev’d on other grounds, 510
U.S. 517 (1994) (quoting Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880, 885 (9th Cir.

1983)).

Il. THE MACK AFFIRMATIVE DEFENSE SHOULD BE STRICKEN BECAUSE
MACK, WHICH IS VALID AND CONTROLLING, PROVIDES STANDING TO
INDIRECT PURCHASERS UNDER FLORIDA LAW.

The Mack Affirmative Defense

avers that Plaintiff's claims are barred, in whole or in part, to the extent that Plaintiff, or
those on whose behalf Plaintiff purports to bring the Complaint, alleged standing rests
upon the First District Court of Appeal’s holding in Mack v. Bristol-Myers Squibb Co.,
673 So. 2d 100 (Fla. 1* DCA 1996). That case is not controlling on this Court, and was
wrongly decided.

See NEC Electronics America, Inc.’s Answer to Third Am. Compl. at 57.

Defendant, including Mosel Vitelic Inc. and Mosel Vitelic Corporation, to the extent they have adopted the
challenged affirmative defenses.

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Mack, the rule of law in Florida, provides standing to indirect purchasers and under
applicable legal principles should be considered controlling by this Court. In the absence of
interdistrict conflict, district court decisions bind all Florida trial courts and, as to substantive
law claims, are therefore also binding on this Court.

Mack v. Bristol-Myers Squibb Co. was decided by Florida’s First District Court of Appeal
in 1996. Since Mack was decided no other Florida district court decision has been rendered that
is in conflict with Mack. The Florida Supreme Court has repeatedly held that “the decisions of
the district courts of appeal represent the law of Florida unless and until they are overruled by
this Court.” Pardo v. Florida, 596 So. 2d 665, 666 (Fla. 1992) (quoting Stanfill v. Florida, 384
So. 2d 141, 143 (Fla. 1980)). Consequently, in the absence of interdistrict conflict, a district
court decision binds all Florida trial courts. /d. (citing Weiman v. McHaffie, 470 So. 2d 682,
684 (Fla. 1985)).

Moreover, the United States Supreme Court has found that “[a]n intermediate state
court in declaring and applying the state law is acting as an organ of the State and its
determination, in the absence of more convincing evidence of what the state law is, should be
followed by a federal court in deciding a state question.” Fidelity Union Trust Co. v. Field, 311
U.S. 169, 177-78 (1940), cited in FTC v. Mylan Labs., Inc., 62 F. Supp. 2d 25 (D.D.C. 1999).

When a federal court sits in diversity jurisdiction over a state law claim it must apply
state substantive law in resolving the dispute. Erie R.R. Co. v. Tompkins, 304 U.S. 64 (1938).
When a federal court sits in pendent, or supplemental, jurisdiction it must apply the rule of

Erie. United Mine Workers v. Gibbs, 383 U.S. 715 (1966).

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Because Mack is controlling law throughout Florida, when considering Florida’s
substantive law claims, this Court should consider it controlling as mandated by United States

Supreme Court precedent. See, e.g. Fidelity Union Trust, Erie and United Mine Workers.

Il. THE “FDUTPA AFFIRMATIVE DEFENSES” SHOULD BE STRICKEN
BECAUSE THE FLORIDA DECEPTIVE AND UNFAIR TRADE
PRACTICES ACT PERMITS UNFAIR COMPETITION CLAIMS FOR
PRICE-FIXING BY
INDIRECT PURCHASERS.

The FDUTPA Affirmative Defenses aver that Plaintiffs claims are barred, in whole or
in part, because, pursuant to Fla. Stat. § 501.202(3), FDUTPA must be construed in a manner
consistent with federal antitrust laws. Because Plaintiffs’ injuries are too speculative,
derivative, indirect, and remote to confer standing under federal antitrust law, they also do not
confer standing under FDUTPA. See, e.g. Answer of Def. Infineon Technologies North
America Corp. and Infineon Technologies AG to Third Am. Comp. at 62.

Mack, the rule of law in Florida, provides standing to indirect purchasers under
FDUTPA, section 501, through a cause of action that is completely independent of the Florida
Antitrust Act, section 542.

According to Mack, “[a] fair reading of section 501.211 reveals no intention by the
legislature to limit suits for price-fixing to direct purchasers only.” 673 So. 2d at 105. Section
501.211 describes, in part, the individual remedies available under the FDUTPA. The Mack
court found that “[p]ermitting indirect purchasers to sue under the Florida DTPA effectuates

the consumer protection policies of the Florida DTPA, but is not adverse to the purposes of the

Antitrust Act.” Jd. at 110.

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This reading of Mack is not limited to Florida courts. At least one federal court has
applied Mack to the facts before it and found it to be controlling. In FTC v. Mylan Labs., Inc.,
the court found that Florida indirect purchasers have standing under the FDUTPA, even though
they did not have standing to sue under either the federal or Florida antitrust laws. 62 F. Supp.
2d 25, 46-47 (D.D.C. 1999) (following the holding in Mack v. Bristol-Myers Squibb Co.). In
Mylan,

The Court [did] not dismiss Florida’s claim seeking damages for indirect purchasers

under the FDUTPA. Although allowing such a claim increases the risk of duplicative

recovery as discussed above, the Florida Court of Appeals has specifically held that an
indirect purchaser has standing to bring a suit for damages under the FDUTPA.
Id. at 46.

Florida statute § 501.202(3) does not, as Defendants’ state in the FDUTPA Affirmative
Defenses, require that FDUTPA be construed in a manner consistent with federal antitrust law.

Rather, it states that “The provisions of this part shall be construed liberally to promote
the following policies:....(3) To make state consumer protection and enforcement consistent
with established policies of federal law relating to consumer protection(emphasis added).”

Contrary to Defendants’ assertions, no court has held that a claim under FDUTPA must
“be construed in a manner consistent with federal antitrust laws.” See FDUTPA Affirmative
Defenses. In fact, as discussed above, both the state and federal courts that addressed this issue
held that antitrust standing was not required under FDUTPA.

In this case, the State of Florida has asserted clearly permissible FDUTPA substantive
law claims under Florida law on behalf of indirect purchasers. Under the supplemental
jurisdiction of this Court, the rule of Mack should be followed and Defendants’ FDUTPA

Affirmative Defenses should be stricken.

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CONCLUSION

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For the foregoing reasons, Plaintiffs respectfully submit that this motion to strike be

granted without prejudice.

DATED: July 2, 2008

Respectfully Submitted,

STATE OF FLORIDA

/s/ Lizabeth Leeds

Lizabeth A. Leeds
Eli A. Friedman

Attorneys for the .
State of Florida

PLAINTIFF FLORIDA’S MOTION TO STRIKE
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APPENDIX A

FDUTPA AFFIRMATIVE DEFENSES

ELPIDA MEMORY, INC. AND ELPIDA MEMORY (USA) INC.
SIXTIETH DEFENSE

Plaintiffs’ claims under Fla. Stat. §§ 501.201, et seg. are barred, in whole or in part,

because pursuant to Fla. Stat. § 501.202(3), the Florida Deceptive and Unfair Trade Practices
Act

(“FDUTPA”) must be construed in a manner consistent with federal antitrust laws. Because
Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer standing under
federal antitrust law, they also do not confer standing under FDUTPA.

HYNIX SEMICONDUCTOR INC. AND HYNIX
SEMICONDUCTOR AMERICA INC.
SIXTY-SECOND DEFENSE

Plaintiffs’ claims under Florida Stat. 501.201 et seq. are barred, in whole or in part,

because, pursuant to section 501.202(3), the Florida Deceptive and Unfair Trade Practices Act
(“FDUTPA”) must be construed in a manner consistent with federal antitrust laws. Because
Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer standing under
federal antitrust law, they also do not confer standing under FDUTPA.

INFINEON TECHNOLOGIES NORTH AMERICA CORP.
AND INFINEON TECHNOLOGIES AG
FORTY-THIRD AFFIRMATIVE DEFENSE

Plaintiffs’ claims under Florida Stat. §§ 501.201 et seq. are barred, in whole or in part,

because pursuant to § 501.202(3), the Florida Deceptive and Unfair Trade Practices Act

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(“FDUTPA”) must be construed in a manner consistent with federal antitrust laws. Because
Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer standing under
federal antitrust law, they also do not confer standing under FDUTPA.

MICRON TECHNOLOGY, INC. AND MICRON
SEMICONDUCTOR PRODUCTS, INC.
FORTY-THIRD ADDITIONAL DEFENSE

Plaintiffs’ claims under Florida Stat. §§ 501.201 et seq. are barred, in whole or in part,

because pursuant to § 501.202(3), the Florida Deceptive and Unfair Trade Practices Act
(“FDUTPA”) must be construed in a manner consistent with federal antitrust laws. Because
Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer standing under
federal antitrust law, they also do not confer standing under FDUTPA.

NANYA TECHNOLOGY CORPORATION

11. The laws of various states (including, without limitation, Florida Stat.
§ 501.202(3)) must be construed in a manner consistent with federal antitrust law. Because
Plaintiffs’ alleged injuries are too speculative, derivative, indirect and remote to confer

standing under federal antitrust law, they also do not confer standing under state law.

64. Plaintiffs’ claims under Florida Stat. §§ 501.201, ef seq., are barred, in

whole or in part, because pursuant to § 501.202(3), the Florida Deceptive and Unfair Trade
Practices Act (“FDUTPA”) must be construed in a manner consistent with federal antitrust
laws. Because Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer

standing under federal antitrust law, they also do nat confer standing under FDUTPA.

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NANYA TECHNOLOGY CORPORATION USA

11. The laws of various states (including, without limitation, Florida Stat.

§ 501.202(3)) must be construed in a manner consistent with federal antitrust law. Because
Plaintiffs’ alleged injuries are too speculative, derivative, indirect and remote to confer
standing under federal antitrust law, they also do not confer standing under state law.

64. Plaintiffs’ claims under Florida Stat. §§ 501.201, et seq., are barred, in

whole or in part, because pursuant to § 501.202(3), the Florida Deceptive and Unfair Trade
Practices Act (“FDUTPA”) must be construed in a manner consistent with federal antitrust
laws. Because Plaintiffs’ injuries are too speculative, derivative, indirect and remote to confer
standing under federal antitrust law, they also do not confer standing under FDUTPA.

NEC ELECTRONICS AMERICA, INC.'S
SIXTY-SEVENTH AFFIRMATIVE DEFENSE
(Lack of Standing Under FDUTPA)

67. Asa sixty-seventh and separate affirmative defense, with respect to the State of

Florida, NEC avers that Plaintiff's claims are barred, in whole or in part, because, pursuant to
Fla. Stat. § 501.202(3), the Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”)
must be construed in a manner consistent with federal antitrust laws. Because Plaintiffs’
injuries are too speculative, derivative, indirect, and remote to confer standing under federal

antitrust law, they also do not confer standing under FDUTPA.

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MACK AFFIRMATIVE DEFENSE

NEC ELECTRONICS AMERICA, INC.'S
SIXTY-NINTH AFFIRMATIVE DEFENSE
(Lack of Standing Based on Mack)

69. As a sixty-ninth and separate affirmative defense, with respect to the State of

Florida, NEC avers that Plaintiff's claims are barred, in whole or in part, to the extent that
Plaintiff, or those on whose behalf Plaintiff purports to bring the Complaint, alleged standing
rests upon the First District Court of Appeal’s holding in Mack v. Bristol-Myers Squibb Co.,
673 So. 2d 100 (Fla. Ist DCA 1996). That case is not controlling on this Court, and was

wrongly decided.

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DECLARATION OF SERVICE BY U.S. MAIL

Case Name: State of California et al, v. Infineon Technologies AG et al.
No.: C-06-4333 SC
I declare:

I am employed in the Office of the Attorney General, which is the office of a member of the
Florida State Bar, at which member's direction this service is made. I am 18 years of age or
older and not a party to this matter. I am familiar with the business practice at the Office of the
Attorney General for collection and processing of correspondence for mailing with the United
States Postal Service. In accordance with that practice, correspondence placed in the internal
mail collection system at the Office of the Attorney General is deposited with the United States

Postal Service that same day in the ordinary course of business.

On July 2, 2008, I served the attached Motion to Strike by placing a true copy thereof enclosed
in a sealed envelope with postage thereon fully prepaid, in the internal mail collection system
at the Office of the Attorney General at PL-01 The Capitol, Tallahassee, FL 32399-1050,

addressed as follows:

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I declare under penalty of perjury under the laws of the State of Florida the foregoing is true

and correct and that this declaration was executed on July 2, 2008, at Tallahassee, Florida.

Jennifer Morgan-Byrd

te: Longs, - Wb

Signatut

PLAINTIFF FLORIDA’S MOTION TO STRIKE
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